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			Home » Hawaii Appellate Court Opinions and Orders » Opinions 
		
					
	 	


	
		

					Opinions			 
			
			For 2009 and older, Case Number link will display content as an html page. PDF link will display a scanned image with file date stamp and judicial signatures. Beginning in 2010, Case Number link will display a scanned image with file date stamp and judicial signatures. ADA link will display an accessible file compatible with online reader devices. Click here to view Opinions and Orders from 1998 to 2009.
						
			
						
				
				
				
			
    		
				
					
						
							Date
							Ct.
							Case Number
							Case Name
							Appealed From
							Reporter Citation
						
					
					
												
							June 18, 2019
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Poepoe v. Bissen (Order Denying Emergency Petition for Writ of Mandamus).&nbsp;Emergency Petition for Writ of Mandamus, filed 06/14/2019.

							Original Proceeding
							
						
												
							June 18, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Souza v. Fisher (Order Rejecting Application for&nbsp;Writ of Certiorari). ICA Order Granting in Part Motion to Dismiss Appeal, filed 03/08/2019 [ada]. Consolidated with Case No.&nbsp;CAAP-XX-XXXXXXX.&nbsp;Application for&nbsp;Writ of Certiorari, filed 05/07/2019.

							District Court, 1st Circuit, Honolulu Division
							
						
												
							June 18, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Pai (Order Dismissing Appeal for Lack of Appellate Jurisdiction).

							District Court, 3rd Circuit, North and South Kona Division
							
						
												
							June 18, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Pai (Order Dismissing Appeal for Lack of Appellate Jurisdiction).

							District Court, 3rd Circuit, North and South Kona Division
							
						
												
							June 18, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Carmichael v. Board of Land and Natural Resources (mem. op., vacated and remanded).

							Circuit Court, 1st Circuit
							
						
												
							June 18, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Limatoc-Deponte v. Cani (s.d.o., affirmed).

							District Court, 3rd Circuit, North and South Hilo Division
							
						
												
							June 17, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Abella (Amended Order Accepting Application for Writ of Certiorari).&nbsp;ICA Opinion, filed 03/22/2019 [ada], 144 Haw. 141. Application for Writ of Certiorari, filed 04/01/2019. S.Ct. Order Dismissing Application for Writ of Certiorari, filed 04/03/2019 [ada].&nbsp; Application for Writ of Certiorari, filed 05/09/2019.&nbsp;S.Ct. Order Accepting Application for Writ of Certiorari, filed 06/17/2019.

							Circuit Court, 1st Circuit
							
						
												
							June 17, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Abella (Order Accepting Application for Writ of Certiorari).&nbsp;ICA Opinion, filed 03/22/2019 [ada], 144 Haw. 141. Application for Writ of Certiorari, filed 04/01/2019. S.Ct. Order Dismissing Application for Writ of Certiorari, filed 04/03/2019 [ada].&nbsp; Application for Writ of Certiorari, filed 05/09/2019.&nbsp;S.Ct. Amended Order Accepting Application for Writ of Certiorari, filed 06/17/2019 [ada].

							Circuit Court, 1st Circuit
							
						
												
							June 17, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Palama (Order Dismissing Appeal for Lack of Appellate Jurisdiction).

							District Court, 5th Circuit
							
						
												
							June 17, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Bayview Loan Servicing, LLC v. Woods (Order Approving Stipulation for Dismissal of Appeal).

							Circuit Court, 5th Circuit
							
						
												
							June 14, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Free Church of Tonga-Kona v. Ekalesia Hoole Pope O Kekaha (Order Dismissing Appeal).

							District Court, 3rd Circuit, North and South Kona Division
							
						
												
							June 14, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Free Church of Tonga-Kona v. Ekalesia Hoole Pope O Kekaha (Order Dismissing Appeal).

							District Court, 3rd Circuit, North and South Kona Division
							
						
												
							June 14, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Free Church of Tonga-Kona v. Ekalesia Hoole Pope O Kekaha (Order Dismissing Appeal).

							District Court, 3rd Circuit, North and South Kona Division
							
						
												
							June 14, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Free Church of Tonga-Kona v. Ekalesia Hoole Pope O Kekaha (Order Dismissing Appeal).

							District Court, 3rd Circuit, North and South Kona Division
							
						
												
							June 14, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Free Church of Tonga-Kona v. Ekalesia Hoole Pope O Kekaha (Order Dismissing Appeal).

							District Court, 3rd Circuit, North and South Kona Division
							
						
												
							June 14, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Banks (Order Dismissing Appeal).

							District Court, 3rd Circuit, Puna Division
							
						
												
							June 14, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Free Church of Tonga-Kona v. Ekalesia Hoole Pope O Kekaha (Order Dismissing Appeal).

							District Court, 3rd Circuit, North and South Kona Division
							
						
												
							June 14, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Gomes (Order Dismissing Appeal).

							Circuit Court, 5th Circuit
							
						
												
							June 14, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Free Church of Tonga-Kona v. Ekalesia Hoole Pope O Kekaha (Order Dismissing Appeal).

							District Court, 3rd Circuit, North and South Kona Division
							
						
												
							June 14, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Smith v. State (s.d.o., affirmed).

							Circuit Court, 1st Circuit
							
						
												
							June 14, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Melendez (mem. op., vacated and remanded).

							Circuit Court, 1st Circuit
							
						
												
							June 14, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							In re JM (s.d.o., affirmed).

							Family Court, 2nd Circuit
							
						
												
							June 13, 2019
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Liu v. Onaka (Order Denying Petition for Writ of Mandamus).&nbsp;Petition for Writ of Mandamus, filed 06/04/2019.

							Original Proceeding
							
						
												
							June 13, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Grindling v. State.&nbsp;ICA s.d.o., filed 04/05/2018 [ada], 142 Haw. 154.&nbsp;Application for&nbsp;Writ of Certiorari, filed 07/02/2018.&nbsp;S.Ct. Order Accepting Application for Writ of Certiorari, filed 08/15/2018 [ada].

							Circuit Court, 2nd Circuit
							
						
												
							June 13, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Carlton (s.d.o., affirmed).

							Circuit Court, 2nd Circuit
							
						
												
							June 13, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Pai (Order Dismissing Appeal for Lack of Appellate Jurisdiction).

							Circuit Court, 3rd Circuit
							
						
												
							June 12, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Beck (Order for Sanctions and Order Dismissing Appeal).

							Circuit Court, 3rd Circuit
							
						
												
							June 12, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Liliha Professional Building, LLC v. Nada, Ono, Kaʻanhe, Solomon &amp; Hayashi LLP (Order Approving Stipulation to Dismiss Appeal).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							June 12, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Citifinancial Servicing LLC v. Nordmeier (Order Dismissing Appeal for Lack of Appellate Jurisdiction).

							Circuit Court, 5th Circuit
							
						
												
							June 12, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Tran (s.d.o., vacated and remanded).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							June 12, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Evans (s.d.o., affirmed).

							Circuit Court, 2nd Circuit
							
						
												
							June 12, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Nationstar Mortgage LLC v. Boonstra (s.d.o., affirmed).

							Circuit Court, 2nd Circuit
							
						
												
							June 12, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Myers (s.d.o., affirmed).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							June 10, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							JF v. LR (Order Rejecting Application for Writ of Certiorari). ICA&nbsp;mem. op., filed 02/26/2019 [ada],&nbsp;144 Haw. 64. Application for Writ of Certiorari, filed 04/29/2019.

							Family Court, 1st Circuit
							
						
												
							June 10, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							JW v. LW (Amended Order Granting Motion to Dismiss Cross-Appeal). ICA Order Granting Motion to Dismiss Cross-Appeal, filed 06/06/2019.

							Family Court, 1st Circuit
							
						
												
							June 10, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Price v. Coulson (s.d.o., vacated and remanded).

							Circuit Court, 1st Circuit
							
						
												
							June 10, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							In re&nbsp;BCI Coca-Cola Bottling Company of Los Angeles, Inc. v. Murakami.&nbsp;&nbsp;ICA mem. op., filed 09/28/2018 [ada], 143 Haw. 235. Motion for Reconsideration, filed 10/08/2018.&nbsp;ICA Order Denying Motion for Reconsideration, filed 10/30/2018 [ada].&nbsp;Application for&nbsp;Writ of Certiorari, filed 12/21/2018.&nbsp;S.Ct.&nbsp;Order Accepting Application for&nbsp;Writ of Certiorari, filed 01/31/2019 [ada].

							Circuit Court, 1st Circuit
							
						
												
							June 10, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Kapalski (mem. op., vacated and remanded).

							Circuit Court, 5th Circuit
							
						
												
							June 10, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Kapolei Marketplace, LLC v. J1S Incorporated (Order Dismissing Appeal).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							June 10, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Rapozo v. State (Order Granting Motion to Dismiss Appeal).

							Circuit Court, 5th Circuit
							
						
												
							June 10, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							In re Elaine Emma Short Revocable Living Trust Agreement Dated July 17, 1984 (mem. op., affirmed and reversed).

							Circuit Court, 1st Circuit
							
						
												
							June 7, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Roberts v. Jayswal (s.d.o., affirmed).

							Circuit Court, 2nd Circuit
							
						
												
							June 7, 2019
							S.Ct
							SCAD-XX-XXXXXXX [ADA]
							Office of Disciplinary Counsel v. Manuia (Order of Suspension).

							Original Proceeding
							
						
												
							June 7, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Mellow (Order Dismissing Appeal).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							June 7, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Medeiros (Order Accepting Application for Writ of Certiorari). ICA&nbsp;s.d.o., filed 01/24/2019 [ada], 144 Haw. 3.&nbsp;Application for Writ of Certiorari, filed 04/29/2019.

							Circuit Court, 2nd Circuit
							
						
												
							June 7, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Oberle (s.d.o., affirmed).

							Circuit Court, 1st Circuit
							
						
												
							June 6, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							JW v. LW (Order Granting Motion to Dismiss Cross-Appeal). ICA Amended Order Granting Motion to Dismiss Cross-Appeal, filed 06/10/2019 [ada].

							Family Court, 1st Circuit
							
						
												
							June 6, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Joslin v. Ota Camp-Makibaka Association, Inc. (Order Dismissing Application for&nbsp;Writ of Certiorari). ICA mem. op., filed 04/05/2019 [ada],&nbsp;144 Haw. 154.&nbsp;Application for&nbsp;Writ of Certiorari, filed 06/03/2019.

							Circuit Court, 1st Circuit
							
						
												
							June 6, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Barnes.&nbsp;Dissenting Opinion by Recktenwald, C.J., in which Nakayama, J. joins, as to Part IV.B of the Majority Opinion [ada].&nbsp;&nbsp;ICA s.d.o., filed 04/13/2017 [ada],&nbsp;139 Haw. 432. Application for Writ of Certiorari, filed 11/01/2017.&nbsp;S.Ct.&nbsp;Order Accepting Application for Writ of Certiorari, filed 12/15/2017 [ada].&nbsp;

							Family Court, 1st Circuit
							
						
												
							June 6, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Guity.&nbsp;&nbsp;ICA mem. op., filed 10/31/2016 [ada], 139 Haw. 272.&nbsp;&nbsp;ICA Order of Correction, filed 11/21/2016 [ada].&nbsp; Application for Writ of Certiorari, filed 01/17/2017.&nbsp;&nbsp;S.Ct. Order Accepting Application for Writ of Certiorari, filed 03/03/2017 [ada].

							Circuit Court, 1st Circuit
							
						
											
				
			
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